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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                     11-CR-1032-80 (PAE)
                        -v-
                                                                            ORDER
 MOISES CUETO,

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has received the attached letter from defendant Moises Cueto, which the Court

treats as a supplement to his letter in support of compassionate release. The existing schedule for

counsels’ submissions on that application stand – defense counsel Anthony Ricco’s letter-

memorandum is due November 13, 2020, and the Government’s letter-memorandum is due

November 20, 2020 (Dkt. No. 2528). The Court expects that counsel, in their submissions, will

address the conditions at FCI Fort Dix that Mr. Cueto’s most recent letter describes.

       SO ORDERED.


                                                          PaJA.�
                                                     __________________________________
                                                           PAUL A. ENGELMAYER
                                                           United States District Judge
Dated: November 9, 2020
       New York, New York
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The Honorable Paul A. Engelmayor
United States District Judge
Southern District of New York
Daniel Patrick Moynahan U.S. Courthouse
500 Pearl Street
New York, N.Y. 10007-1312



Re: United States v. Cueto
    _Case No. 17-cr-1032 (PAE)



Dear Chief Judge Engelmayor:

      My name is Moises Cueto (Fed. Reg. No. 75353-066).       I am the Petitioner in the

referenced original proceeding.     I am presently incarcerated at FCI Fort Dix, Joint

Base /MDL, NJ 08640. ("FCI Fort Dix 11 ) .   As your Honor may recall I recently filed a

Motion respectfully requesting compassionate release.       I write this Jetter to update

Your Honor with respect to the COVID-19 situation at FCI Fort Dix.       The situation at

FCI Fort Dix has deteriorated from the date I filed my Motion and without intending

to burden the court with ~dditional paperwork.       I believe an update of the situaticn

is ~pprcp~iate because the l eth~l peril to me substantially increased.

      The COVID-19 virus has now enveloped the entire FCI Fort Dix Facility.

Numerous additional inmates as well as correction officers have tested positive for

the disease.     In a recent case in the Southern Dictrict cf Ne~: Yc~k granting

compassionate release, (United States v. Fernande~ 12-cr-844, ECF Dkt 468 (S.D.N.Y.

Oct. 14, 2020)     District Judge Nathan described the COVID-19 situation at FCI Fort

Dix in detail.     Significantly, District Judge Nathan had previously denied the

requested relief and changed her mind because of the COVID-19 onslaught sweeping the

FCI Fort Dix Facility.     District Judge Nathan in Fernandez, ~upra. states:

      As of October 12, 2020, the BOP website reports th&t 5 inmatec at Fort Dix are
      infected and 35 inmates have recovered from past infections. The reported
      number of infections is significant. However, the Court also has concerns that
      the reported numbers on the BOP webcite may net reflect the truo 3Cope of the
      outbreak at FCI Fort Dix. While the BOP website reported on 40 inmate cases (5
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         current and 35 recovered), it also reported th~t 1CS in~ate~ have tested
         positive at the facility. ]j_. Moreover, in a filing in another case in this
         district, the Government represented that there were 7 current COVID-19 cases
         among inmates at FCI Fort Dix on the same day the BOP website reported only 3
         cases. United States v. Livardi ., 11-cr-1032, Dkt No. 2520, at 4. Whatever the
         exact number of current cases at FCI Fort Dix, it makes a worrying uptick. The
         number of positive tests reported on the BOP website increased from 79 to 106
         ;;ithin the past few weeks . At the same time, the number of active cases is
         clcc i~crc~sing.

          On October 9, 2020, in a Notice to the inmate population, LCDR Ronell Copeland

RN, QIICN of the FCI fcrt Dix medical staff advised.           11
                                                                    There are currently inmates at

FCI Fort Dix who have tested positive for COVID-19 and have been placed in

isolation. 11   Less than 2-weeks later on October 21, 2020, LCDR Renell Copeland, RN

QIICD further advised,      11
                                 An inmate housed in SHU tested positive for COVID-19 and was

iscl~tcd in 5851, 1Gt floor.           A second inmate who exhibited symptoms of COVID-19 ..•

;1a.s isolated upon arrival from FCI Elkton. 11       Five days later RN Copeland, disclosed
11
     54 confirmed c~oco of COVID-19 identified in unit 5812 have been isolated in unit

5851, 2nd floor.      A confirmed case of COVID-19 identified in SHU is being isolated in

health services . .. 11   These latest infections coincide with the arrival at FCI Fort

Dix of inmates from FCI Elkton, Ohio; one cf the most COVID-19 infected facilities

with the greatest number of COVID-19 infected inmates and correction officers.               Nine

inmates at FCI Elkton have died from the disease.           An even more recent posting on the

BOP website discloses at least 160 inmates and 13 correction officers have tested

positive for the COVID-19 virus at FCI Fort Dix. The situation is spiraling out of

control.

          The COVID- 19 virus has now spread to no fet:er than 5 of the 13 building s at FCI

Fort Dix housing inmates.           Inmates in Buildings 5803, 5812, 5851, 5806 and 5703 are

now infected.      There is no way for me to effectively protect myself against the

highly contagious and lethal COVID-19 virus.           With the utmost respect I believe I

have a meritorious motion and I also believe losing my life to this dread disease is

in consistent with fundamental principles of justice and fairness.




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      I deeply appreciate Your Honor taking the time to read this letter.

                                                      Respectfully Submitted,




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                                                      proceeding i n ~ pauperis _
                                                      Reg. No. 75353-066
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                                                      ?.0. E8X 2000
Date: November 4, 2020                                Jcint Base /MDL, N.J. 08640




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